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Row Labels                                                                                                                                            Count of Employee Number
  OFC OF TECHNOLOGY, SVCS & INNOVATION                                                                                                                                       44
   OFC OF TECHNOLOGY, SVCS & INNOVATION----                                                                                                                                    3
   OFC OF TECHNOLOGY, SVCS & INNOVATION-ENGINEERING & TRANSMISSION DIRECTORATE-OPERATIONS AND STATIONS DIVISION--                                                              1
   OFC OF TECHNOLOGY, SVCS & INNOVATION-ENGINEERING & TRANSMISSION DIRECTORATE-OPERATIONS AND STATIONS DIVISION-NETWORK SUPPORT BRANCH-                                        2
   OFC OF TECHNOLOGY, SVCS & INNOVATION-ENGINEERING & TRANSMISSION DIRECTORATE-OPERATIONS AND STATIONS DIVISION-TRANSMITTING STATION - BOTSWANA-                               2
   OFC OF TECHNOLOGY, SVCS & INNOVATION-ENGINEERING & TRANSMISSION DIRECTORATE-OPERATIONS AND STATIONS DIVISION-TRANSMITTING STATION - GERMANY-                                1
   OFC OF TECHNOLOGY, SVCS & INNOVATION-ENGINEERING & TRANSMISSION DIRECTORATE-OPERATIONS AND STATIONS DIVISION-TRANSMITTING STATION - KUWAIT-                                 1
   OFC OF TECHNOLOGY, SVCS & INNOVATION-ENGINEERING & TRANSMISSION DIRECTORATE-OPERATIONS AND STATIONS DIVISION-TRANSMITTING STATION - MARIANAS-                               1
   OFC OF TECHNOLOGY, SVCS & INNOVATION-ENGINEERING & TRANSMISSION DIRECTORATE-OPERATIONS AND STATIONS DIVISION-TRANSMITTING STATION - PHILIPPINES-                            1
   OFC OF TECHNOLOGY, SVCS & INNOVATION-ENGINEERING & TRANSMISSION DIRECTORATE-OPERATIONS AND STATIONS DIVISION-TRANSMITTING STATION - SAO TOME-                               1
   OFC OF TECHNOLOGY, SVCS & INNOVATION-ENGINEERING & TRANSMISSION DIRECTORATE-OPERATIONS AND STATIONS DIVISION-TRANSMITTING STATION - THAILAND-                               2
   OFC OF TECHNOLOGY, SVCS & INNOVATION-INFORMATION TECHNOLOGY DIRECTORATE-ENTERPRISE APPLICATIONS DIVISION--                                                                  3
   OFC OF TECHNOLOGY, SVCS & INNOVATION-INFORMATION TECHNOLOGY DIRECTORATE-ENTERPRISE PLATFORMS DIVISION--                                                                     8
   OFC OF TECHNOLOGY, SVCS & INNOVATION-INFORMATION TECHNOLOGY DIRECTORATE-INFORMATION OPERATIONS&MONITORING DIV--                                                             2
   OFC OF TECHNOLOGY, SVCS & INNOVATION-INFORMATION TECHNOLOGY DIRECTORATE-INFORMATION SECURITY MANAGEMENT DIV--                                                               1
   OFC OF TECHNOLOGY, SVCS & INNOVATION-OFFICE OF THE CIO---                                                                                                                   1
   OFC OF TECHNOLOGY, SVCS & INNOVATION-OFFICE OF THE CIO-ENTERPRISE TELECOMMUNICATIONS DIVISION--                                                                             3
   OFC OF TECHNOLOGY, SVCS & INNOVATION-OFFICE OF THE CIO-GLOBAL NETWORK DIVISION--                                                                                            6
   OFC OF TECHNOLOGY, SVCS & INNOVATION-RESOURCE&PROJECT MANAGEMNT DIRECTORATE-RESOURCE MANAGEMENT DIVISION--                                                                  2
   OFC OF TECHNOLOGY, SVCS & INNOVATION-TECHNOLOGY SUPPORT SVCS DIRECTORATE-COMPUTER SYSTEMS SUPPORT DIVISION--                                                                3
  OFFICE OF CUBA BROADCASTING                                                                                                                                                32
   OFFICE OF CUBA BROADCASTING----                                                                                                                                             1
   OFFICE OF CUBA BROADCASTING-ADMINISTRATION DIRECTORATE---                                                                                                                   2
   OFFICE OF CUBA BROADCASTING-BROADCAST OPERATIONS DIRECTORATE---                                                                                                             1
   OFFICE OF CUBA BROADCASTING-CENTRAL NEWS DIVISION---                                                                                                                        7
   OFFICE OF CUBA BROADCASTING-DIGITAL MEDIA & SOCIAL STRATEGY DIV---                                                                                                          4
   OFFICE OF CUBA BROADCASTING-INFORMATION TECHNOLOGY DIVISION---                                                                                                              2
   OFFICE OF CUBA BROADCASTING-RADIO MARTI DIVISION-RADIO TECHNICAL BRANCH--                                                                                                   6
   OFFICE OF CUBA BROADCASTING-TRANSMISSION DIVISION---                                                                                                                        2
   OFFICE OF CUBA BROADCASTING-TRANSMITTING STATION - GREENVILLE---                                                                                                            3
   OFFICE OF CUBA BROADCASTING-TV MARTI DIVISION---                                                                                                                            1
   OFFICE OF CUBA BROADCASTING-TV MARTI DIVISION-TV PRODUCTION BRANCH--                                                                                                        2
   OFFICE OF CUBA BROADCASTING-TV MARTI DIVISION-TV TECHNICAL BRANCH--                                                                                                         1
  OFFICE OF MANAGEMENT SERVICES                                                                                                                                              54
   OFFICE OF MANAGEMENT SERVICES----                                                                                                                                           2
   OFFICE OF MANAGEMENT SERVICES-ADMINISTRATION---                                                                                                                             1
   OFFICE OF MANAGEMENT SERVICES-CONTRACTS---                                                                                                                                20
   OFFICE OF MANAGEMENT SERVICES-CONTRACTS-SIMPLIFIED--                                                                                                                        1
   OFFICE OF MANAGEMENT SERVICES-HUMAN RESOURCES---                                                                                                                            4
   OFFICE OF MANAGEMENT SERVICES-HUMAN RESOURCES-ADMINISTRATION AND BENEFITS--                                                                                                 3
   OFFICE OF MANAGEMENT SERVICES-HUMAN RESOURCES-INFORMATION SYSTEMS AND SOLUTIONS--                                                                                           4
   OFFICE OF MANAGEMENT SERVICES-HUMAN RESOURCES-LABOR AND EMPLOYEE RELATIONS--                                                                                                8
   OFFICE OF MANAGEMENT SERVICES-HUMAN RESOURCES-OPERATIONS--                                                                                                                  5
   OFFICE OF MANAGEMENT SERVICES-HUMAN RESOURCES-WORKFORCE SUPPORT AND DEVELOPMENT--                                                                                           1
   OFFICE OF MANAGEMENT SERVICES-SECURITY---                                                                                                                                   2
   OFFICE OF MANAGEMENT SERVICES-SECURITY-PERSONNEL--                                                                                                                          2
   OFFICE OF MANAGEMENT SERVICES-SECURITY-PHYSICAL--                                                                                                                           1
  OFFICE OF POLICY & RESEARCH                                                                                                                                                  3
   OFFICE OF POLICY & RESEARCH-OFFICE OF EDITORIALS---                                                                                                                         3
  OFFICE OF THE CHIEF FINANCIAL OFFICER                                                                                                                                      18
   OFFICE OF THE CHIEF FINANCIAL OFFICER----                                                                                                                                   1
   OFFICE OF THE CHIEF FINANCIAL OFFICER-BUDGET---                                                                                                                             7
   OFFICE OF THE CHIEF FINANCIAL OFFICER-FINANCIAL OPERATIONS---                                                                                                             10
  OFFICE OF THE GENERAL COUNSEL                                                                                                                                                3
   OFFICE OF THE GENERAL COUNSEL----                                                                                                                                           3
  UNITED STATES AGENCY FOR GLOBAL MEDIA                                                                                                                                        1
   UNITED STATES AGENCY FOR GLOBAL MEDIA----                                                                                                                                   1
  VOICE OF AMERICA                                                                                                                                                           54
   VOICE OF AMERICA----                                                                                                                                                        1
   VOICE OF AMERICA-PROGRAMMING DIRECTORATE-AFRICA DIVISION--                                                                                                                  1
   VOICE OF AMERICA-PROGRAMMING DIRECTORATE-BROADCAST OPERATIONS-CENTRAL PRODUCTION SERVICES DIVISION-TRAFFIC BRANCH/TRAFFIC SERVICES                                          2
   VOICE OF AMERICA-PROGRAMMING DIRECTORATE-BROADCAST OPERATIONS-CENTRAL PRODUCTION SERVICES DIVISION-TRAFFIC BRANCH/TV OPERATIONS SERVICES                                    1
   VOICE OF AMERICA-PROGRAMMING DIRECTORATE-BROADCAST OPERATIONS-OPERATIONS SUPPORT DIVISION-                                                                                  1
   VOICE OF AMERICA-PROGRAMMING DIRECTORATE-BROADCAST OPERATIONS-OPERATIONS SUPPORT DIVISION-RADIO MULTIMEDIA                                                                  5
   VOICE OF AMERICA-PROGRAMMING DIRECTORATE-BROADCAST OPERATIONS-OPERATIONS SUPPORT DIVISION-TELEVISION OPS/TV MASTER CONTROL SVC                                              3
   VOICE OF AMERICA-PROGRAMMING DIRECTORATE-BROADCAST OPERATIONS-OPERATIONS SUPPORT DIVISION-TELEVISION OPS-TV STUDIO SERVICES                                                 1
   VOICE OF AMERICA-PROGRAMMING DIRECTORATE-BROADCAST OPERATIONS-VOA DIGITAL MANAGEMENT DIVISION-                                                                              3
   VOICE OF AMERICA-PROGRAMMING DIRECTORATE-BROADCAST OPERATIONS-VOA DIGITAL MEDIA SUPPORT-                                                                                    4
   VOICE OF AMERICA-PROGRAMMING DIRECTORATE-CHINA DIVISION-MANDARIN SERVICE-                                                                                                   2
   VOICE OF AMERICA-PROGRAMMING DIRECTORATE-EAST ASIA AND PACIFIC DIVISION--                                                                                                   1
   VOICE OF AMERICA-PROGRAMMING DIRECTORATE-EAST ASIA AND PACIFIC DIVISION-CHINA BRANCH-MANDARIN SERVICE                                                                       1
   VOICE OF AMERICA-PROGRAMMING DIRECTORATE-PERSIAN NEWS NETWORK--                                                                                                             4
   VOICE OF AMERICA-PROGRAMMING DIRECTORATE-PERSIAN NEWS NETWORK-CENTRAL NEWS AND PRODUCTION UNIT-                                                                           11
   VOICE OF AMERICA-PROGRAMMING DIRECTORATE-SOUTH AND CENTRAL ASIA DIVISION--                                                                                                  2
   VOICE OF AMERICA-PROGRAMMING DIRECTORATE-SOUTH AND CENTRAL ASIA DIVISION-AFGHANISTAN BRANCH-                                                                                1
   VOICE OF AMERICA-PROGRAMMING DIRECTORATE-SOUTH AND CENTRAL ASIA DIVISION-AFGHANISTAN BRANCH-DARI SERVICE                                                                    4
   VOICE OF AMERICA-PROGRAMMING DIRECTORATE-SOUTH AND CENTRAL ASIA DIVISION-AFGHANISTAN BRANCH-PASHTO SERVICE                                                                  1
   VOICE OF AMERICA-PROGRAMMING DIRECTORATE-SOUTH AND CENTRAL ASIA DIVISION-KURDISH SERVICE-                                                                                   1
   VOICE OF AMERICA-PROGRAMMING DIRECTORATE-VOA NEWS CENTER--                                                                                                                  1
   VOICE OF AMERICA-PROGRAMMING DIRECTORATE-VOA NEWS CENTER-COVERAGE DESK-                                                                                                     1
   VOICE OF AMERICA-PROGRAMMING DIRECTORATE-VOA NEWS CENTER-REAL TIME NEWS DESK-                                                                                               2
Grand Total                                                                                                                                                                 209
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Office Symbol                                      (Multiple Items)

Row Labels                                         Count of Employee Number
  OFFICE OF CUBA BROADCASTING                                              32
   ADMINISTRATION DIRECTORATE                                               2
   ADMINISTRATION DIRECTORATE - GREENVILLE                                  1
   BROADCAST OPERATIONS DIRECTORATE                                         1
   CENTRAL NEWS DIVISION                                                    7
   DIGITAL MEDIA & SOCIAL STRATEGY DIV                                      4
   INFORMATION TECHNOLOGY DIVISION                                          2
   OFFICE OF CUBA BROADCASTING                                              1
   OPERATIONS AND STATIONS DIVISION - GREENVILLE                            1
   RADIO TECHNICAL BRANCH                                                   6
   TRANSMISSION DIVISION                                                    2
   TRANSMITTING STATION - GREENVILLE                                        1
   TV MARTI DIVISION                                                        1
   TV PRODUCTION BRANCH                                                     2
   TV TECHNICAL BRANCH                                                      1
  VOICE OF AMERICA                                                         54
   AFRICA DIVISION                                                          1
   BROADCAST OPERATIONS                                                    20
   CHINA DIVISION                                                           2
   EAST ASIA AND PACIFIC DIVISION                                           2
   PERSIAN NEWS NETWORK                                                    15
   SOUTH AND CENTRAL ASIA DIVISION                                          9
   VOA NEWS CENTER                                                          4
   VOICE OF AMERICA                                                         1
Grand Total                                                                86
